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                      IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

PREMIER ELECTRONICS, L.L.C.,                 §
    Plaintiff                                §
                                             §
v.                                           §              CASE NO. 3:18-CV-2036-S
                                             §
ADT, L.L.C.,                                 §
      Defendant                              §

          PLAINTIFF PREMIER'S MOTION FOR CONTINUANCE AND TO
     MODIFY SCHEDULING ORDER WITH SUPPORTING MEMORANDUM OF LAW


        Plaintiff Premier Electronics, L.L.C. ("Premier") files Plaintiff Premier's Motion for

Continuance and to Modify Scheduling Order with Supporting Memorandum of Law.

        1.     This case is presently set for trial on this Comt's three-week docket beginning

May 4, 2020. Premier seeks a continuance of this n:ial setting for six months.

        2.     This Comt previously entered an Agreed Scheduling Order [Doc. 18] on

December 14, 2018. Some of the deadlines set forth in that order were subsequently extended by

agreement of counsel.     Premier seeks a modification of that scheduling order, including

reopening the deadline to amend pleadings, conduct facts discovery, and provide expe1t

disclosmes.

        3.     Defendant ADT, L.L.C. ("ADT") has filed a motion for summary judgment. The

relief requested in this Motion does not seek to delay or postpone the Comt's resolution of the

pending motion for summary judgment.

                              ARGUMENTS & AUTHORITIES

        4. Rule 16(b)(4) of the Federal Rules of Civil Procedme provides that: "A schedule

may be modified only for good cause and with the judge's consent." There are four relevant



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factors to consider when dete1mining whether good cause exists under Rule l 6(b)(4):

       1. The explanation for the failure to timely comply with the scheduling order;

       2. The importance of the modification;

       3. Potential prejudice in allowing the modification; and

       4. The availability of a continuance to cure such prejudice.

Premier maintains that under the facts and circumstance of this case, good cause exists.

       5.      This lawsuit involves Premier's claims that ADT tortiously interfered with

Premier's existing contracts with its customers and others in a master-planned residential

community known as Phillips Creek Ranch ("PCR") and tortiously interfered with Premier's

prospective business relations with prospective customers and other in another community

known as Walsh.       These contracts and prospective relations all arise out of a business

relationship between Premier and Republic Property Group ("Republic") that contemplated

similar bulk-billing agreements with the developer and homeowner's associations of three

communities: 1) PCR, 2) Walsh, and 3) a third community known as Light Farms.

       6.      In its complaints, Premier did not allege that ADT interfered with Premier's

contracts or prospective relations in Light Farms. There was no evidence it had successfully

done so. Premier has a written Security System Agreement with Light Farms, which was

initially virtually identical to the one in PCR. Before this lawsuit was filed, that agreement had

automatically renewed for a second three-year term through February 19, 2020.

       7.      In 2016, Premier and ADT had discussions concerning Premier's customer

accounts and bulk-billing agreement in Light Fa1ms. In connection with those discussions, the

paiiies signed a Non-Circumvention Agreement with respect to the Light Faims Opp01iunity. A

true and correct copy of the Non-Circumvention Agreement is attached to this Motion as Exhibit



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2.    Until recently, Premier has had no indication that ADT attempted to contact anyone in

connection with the Light Farms Opportunity or that ADT had attempted to interfere with

Premier's relations with its Light Farms customers.

         8.    With the renewal of its bulk-billing agreement and a Non-Circumvention

Agreement signed by ADT with respect to Light Fatms, Premier was reasonably confident that

ADT had not and would not interfere with its existing contracts and prospective relations and

ADT had caused no damages to Premier in Light Farms. Accordingly, there are no allegations of

tmtious conduct made by Premier against ADT in this lawsuit with respect to Light Fatms.

         9.    On November 15, 2019, the community manager of the Light Fat·ms Homeowners

Association (the "Light Fatms HOA") sent a letter to Premier seeking to prematurely end the

bulk-billing Agreement for Light Fatms effective Januai·y 31, 2020.        Premier has been in

discussions with the Light Faims HOA concerning this letter since then. Still, Premier had no

indication of any wrongdoing by ADT. Within the last month, that has changed.

         10.   Premier has learned that sales representatives for ADT have begun to aggressively

market ADT's competing services to Premier's customers in Light Farms. Once again, ADT has

done so by lying to Premier' s customers. One Premier customer in Light Farms, Judy Kincaid,

has told Premier in a recorded telephone conversation that the ADT sales representative told her

that "Premier has been sold to another company," and that "it was not a local company." These

statements ai·e, of course, false, and ADT knows they are false. Premier has not been sold to

another company, and Premier is a local company. This recording has been provided to ADT's

attorney, and is in the process of being transcribed so that it can be submitted to the Comt;

however, the court repmter/transcriptionist requires ten days to complete this assignment.

Premier intends to supplement this Motion with this transcript when it becomes available.



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       11.    As a result of ADT's conduct, Premier seeks a six-month continuance to

investigate this new conduct recently committed by ADT to interfere with Premier's existing and

prospective relations involving the Light Farms community, to amend its pleadings if necessary

to include complaints concerning ADT's conduct in Light Farms, to conduct discovery if

necessary concerning such conduct, and to amend its expert report to include damages for such

conduct.

       12.     Premier did not address Light Faims within the time limits imposed by the

Agreed Scheduling Order because, to Premier's knowledge and belief, ADT had not committed

any wrongful conduct with respect to Light Farms until recently.         Given the substantial

similarities between the bulk-billing agreements for PCR and Light Farms, the commonality of

the parties and many witnesses, and the apparent similarity of the conduct committed by ADT,

allowing the requested modification will secure a just, speedy, and inexpensive determination of

all of the disputes between Premier and ADT. Modifying the scheduling order will not prejudice

ADT and will avoid prejudicing Premier who, without such a modification, would need to

initiate a second lawsuit against ADT for its conduct in Light Farms.

       13.     ADT has filed a motion for summary judgment [Doc. 23] which largely concerns

the interplay between language in Premier's Security Monitoring Agreements with its PCR

customers and the language of its bulk-billing agreement in PCR. There is no reason this request

should delay the Court's decision with respect to that motion.

       14.     Premier seeks a continuance and modification of the Amended Scheduling Order

as follows:

        1.     Trial Date: A new trial date in November 2020 either agreed by the parties or

       dete1mined by the Comt.



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       2.      Amendment of Pleadings: A deadline of May 1, 2020, to amend pleadings .to

       add any claims pertaining to the Light Farms community.

       3.      Dispositive Motions: A deadline to file any new dispositive motions of August

       31, 2020.

       4.      Designation of Experts: A deadline to designate expe1ts on or before June 1,

       2020.

       5.      Responsive Designation of Experts:           A deadline to designate expe1ts on or

       before June 29, 2020.

       6.      Objections to Experts: Daubert motions to be filed no later than August 14,

       2020.

       7.      Pretrial Disclosures: Pretrial disclosures to be made by October 2, 2020.

       8.      Completion of Discovery: A deadline of July 31, 2020 to complete discovery.

This continuance is not sought for delay only but so that justice may be done.

                                              PRAYER

       Premier prays that this Comt deny Defendant ADT LLC's Motion for Final Summary

Judgment in its entirety. Plaintiff prays for general relief.

                                                       Respectfully submitted,



                                                       Pre~               ~                rough
                                                       its President Shawn . Griffith

                                                       Isl John M Frick

                                                       John M. Frick
                                                       Texas Bar No. 07455200
                                                       jfi·ick@be nnettweston. com




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                                                      BENNETT, WESTON, LAJONE & TURNER, P.C.
                                                      1603 LBJ Freeway, Suite 280
                                                      Dallas, Texas 75234
                                                      Tel:    (972) 662-4901
                                                      Fax: (214) 393-4043

                                                      ATTORNEYS FOR PLAINTIFF
                                                      PREMIER ELECTRONICS, L.L.C.

                                CERTIFICATE OF SERVICE

         This is to ce1tify that a true and correct copy of the foregoing Plaintiff Premier's Motion
for Continuance and to Modify Scheduling Order with Supporting Memorandum of Law bas
been furnished to the following counsel in accordance with the Federal Rules of Civil Procedure,
this 11 th day of February, 2020:

Eric S. Boos                                         Tanya L. Chaney
SHOOK, HARDY & BACON, L.L.P.                         SHOOK, HARDY & BACON, L.L.P.
Citigroup Center                                     JPMorgan Chase Tower
201 S. Biscayne Blvd., Suite 3200                    600 Travis St., Ste. 3400
Miami, FL 3313 1-4332                                Houston, TX 77002-2926
esboos@gmail.com                                     tchaney@shb.com


                                                             Isl John M Frick
                                                             John M. Frick




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                        IN THE UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

PREMIER ELECTRONICS, L.L.C.,                    §
    Plaintiff                                   §
                                                §
v.                                              §              CASE NO. 3:18-CV-2036-S
                                                §
ADT, L.L.C.,                                    §
      Defendant                                 §

          APPENDIX TO PLAINTIFF PREMIER'S MOTION FOR CONTINUANCE
                     AND TO MODIFY SCHEDULING ORDER

          Plaintiff Premier Electronics, L.L.C. ("Premier") files Appendix to Plaintiff Premier's

Motion for Continuance and to Modify Scheduling Order..

Exhibit                                   Document                                    Page No.


      1      Declaration of Shawn P. Griffith                                           3-20

      2      Non-Circumvention Agreement                                               21 -27


                                                        Respectfully submitted,

                                                        Isl John M Frick

                                                        John M. Frick .
                                                        Texas Bar No. 07455200
                                                        jfrick@bennettweston.com

                                                        BENNETT, WESTON, LAJONE & TURNER, P.C.
                                                        1603 LBJ Freeway, Suite 280
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                                                        Fax: (214) 393-4043

                                                        ATTORNEYS FOR PLAINTIFF
                                                        PREMIER ELECTRONICS, L.L.C.




                                                    1
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                              CERTIFICATE OF SERVICE

       This is to ce1tify that a true and correct copy of the foregoing Appendix to Plaintiff
Premier's Motion for Continuance and to Modify Scheduling Order has been furnished to the
                                                                                   th
following counsel in accordance with the Federal Rules of Civil Procedure, this 11 day of
February, 2020:

Eric S. Boos                                      Tanya L. Chaney
SHOOK, HARDY & BACON, L.L.P.                      SHOOK, HARDY & BACON, L.L.P.
Citigroup Center                                  JPMorgan Chase Tower
201 S. Biscayne Blvd., Suite 3200                 600 Travis St., Ste. 3400
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esboos@gmail.com                                  tchaney@shb.com


                                                         Isl John M Frick
                                                         John M. Frick




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                       IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

PREMIER ELECTRONICS, L.L.C.,                  §
    Plaintiff                                 §
                                              §
v.                                            §              CASE NO. 3:18-CV-2036-S
                                              §
ADT, L.L.C.,                                  §
      Defendant                               §

                         DECLARATION OF SHAWN P. GRIFFITH

        I, the undersigned individual, declare under penalty of pe1jury as follows:

         1.    My name is Shawn P. Griffith. I am the founder, president, and chief executive

officer of Premier Electronics, L.L.C. ("Premier"). All the facts set fo1th in this Declaration are

within my personal knowledge and are true and conect.

         2.    Premier is engaged in the business of installing, maintaining, and monitoring fire,

burglary, and alarm systems in the State of Texas.

         3.    Republic Property Group ("Republic") is a real estate development group which

owns and develops residential communities in the North Texas area. In 2011 and 2012, I met

with representative of Republic concerning a pioneering new business model in the home

security industry sometimes referred to as the bulk-billing model. In this model, the home

security company contracts with developers and homeowners' associations to capture the market

in master-planned communities before any residential construction begins.

         4.    Initially, over the course of a year Premier and Republic shared infmmation and

did market research together concerning using a bulk-billing model for home security services in

connection with three master-planned residential communities in the DFW area which were

being developed by Republic:        Phillips Creek Ranch ("PCR"), Light Fmms, and Walsh.



Declaration of Shawn P. Griffith                                                          - Page 1
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Ultimately, Republic delivered to me a formal Request for Proposal for an agreement to install,

monitor, and service security systems in PCR with a guaranteed penetration rate of 100% of

homes in the community.

       5.     Effective September 4, 2012, Premier, the Developer, and the Association entered

into a written Security System Agreement (the "Agreement") with respect to PCR.

       6.      Effective March 25, 2013, Premier entered into a substantially similar written

Security System Agreement with respect to Light Farms.

       7.      Both the PCR and Light Farms bulk-billing agreement require Premier to enter

into separate Security Monitoring Agreement with individual homeowners and pe1mits those

homeowners to request additional components and features. The price for these additional

components and features were not subject to the bulk billing arrangements.

       8.     The duration of each Homeowner's Security Monitoring Agreement is not in any

way affected by the te1ms of the bqlk-billing Agreement with the Developer and the HOA. Each

such agreement ensures that Premier's customer, the individual homeowner, is the only one

authorized to cancel Premier's services. It is a standard industry practice in the alaim and

security industry, and a routine practice of Premier, to require each customer who is receiving

alarm monitoring services to provide written notice in advance of a desire to cancel service to

prevent a third-party from cancelling another person's alaim monitoring service.

       9.      On April 21, 2016, we received the letter from Greg Barnett at Insight indicating

that the Association was giving written notice of its intent to not renew the Agreement. This

lawsuit concerns ADT' s conduct in lying to our customers at PCR and hindering the

performance of our contracts by removing and/or reprogramming the equipment installed at the

customer's homes.



Declaration of Shawn P. Griffith                                                        - Page 2
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       10.     Before this lawsuit was filed, Premier had discussions with ADT concerning a

potential business opportunity concerning the Light Farms development. In connection with

those discussions, the parties entered into a Non-Circumvention Agreement. A true and correct

copy of the Non-Circumvention Agreement is attached to this Declaration as Exhibit 2. Those

discussions never came to fruition.

       11.     Premier's separate agreement concerning the Light Farms development

automatically renewed in 2017 through February 19, 2020.

       12.     In this lawsuit, Premier as not alleged that ADT interfered with Premier's

contracts or prospective relations in Light Farms. There was no evidence it had successfully

done so. With the renewal of our bulk-billing agreement and a Non-Circumvention Agreement

signed by ADT with respect to Light Farms, I was reasonably confident that ADT had not and

would not interfere with Premier' s existing contracts and prospective relations and that ADT had

not directly caused any damages to Premier in Light Farms. . Accordingly, there are no

allegations of tortious conduct made by Premier against ADT in this lawsuit with respect to

Light Farms.

       13.     On November 15, 2019, the community manager of the Light Farms Homeowners

Association (the "Light Farms HOA") sent a letter to Premier seeking to prematurely end the

bulk-billing Agreement for Light Faims effective January 31, 2020. Premier has been in

discussions with the Light Faims HOA concerning this letter since then. Still, Premier had no

indication of any wrongdoing by ADT. Within the last month, that has changed.

       14.     Premier has learned that sales representatives for ADT have begun to aggressively

market ADT's competing services to Premier's customers in Light Farms. Once again, ADT has

done so by lying to Premier's customers. One Premier customer in Light Farms, Judy Kincaid,



Declaration of Shawn P. Griffith                                                        - Page 3
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has told Premier in a recorded telephone conversation that the ADT sales representative told her

that "Premier has been sold to another company," and that "it was not a local company." These

statements are, of comse, false, and ADT knows they are false. Premier has not been sold to

another company, and Premier is a local company.            This recording has been provided to

Premier's attorney, and I understand it has also been provided to ADT's attorney.

       15.     Premier seeks a six-month continuance to investigate this new conduct recently

committed by ADT to interfere with Premier's existing and prospective relations involving the

Light Farms community, to amend its pleadings if necessary to include complaints concerning

ADT's conduct in Light Farms, to conduct discovery if necessary concerning such conduct, and

to amend its expert rep01t to include damages for such conduct.



I hereby declare under penalty of pe1jury that the foregoing is true and correct.

Executed on February 10, 2020.




                                                      Sha
                                                                               /
                                                                           /




Declaration of Shawn P. Griffith                                                        - Page 4
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                                   NON-ClRCUJVIVENTION AGRl!:EMENT

               This Non-Circumvention Agreement (this "Agreement") is entered into as of thi~bt~
           ,nt._.
       ofc,
        ADT     =, -,      20 16 , and is by and between Premier Electronics LLC_("Presenlor") and
                                    ("
                                    Presenlee"), together with each of Presenlor' sand Presenlee · s officers,
       directors, shareholders. agents. employees, consultunts, attorneys and affiliates.

                                                      RECITALS

              WI-I EREAS, Presentor has a business investment opportunity wh ich it desires to present to
       Presentee and any and all other opportunities relating lo or derived from s uch opportunity (the
       "Opportunity"), and intends lo assist Presentee with respect lo the Opportunity; and

              WHEREAS, Prescntee has an investor (the "Investor") who is interested in participating in
       the oppo1tunity; and

               WH EREAS , Presentor desires and Presentee agrees that prior to identification of lhe
       Opportunity by Presentor and the Investor by Presenlee, each ofPresentor and Presentee must agree
       to certain non-circumvention and nondisclosure covenants; and

              WHEREAS, Presenlee desires lo be presented with the opportunity to acquire the
       Opportunity and Presenter desires lo present the oppo1iunity to the Investor.

             NOW, ll·IEREFORE, for good and adequate consideration, the receipt of which is hereby
       acknowledged, the parties hereto. agree as fo llows:


                                                  ARTfCLE I
                                             NON-ClRClJlvlVENTfON

               Section I. Fur ther contacts with the Opportunity (Nun-Circumvention). Presentee
       agrees not 1~1 contact or initiate contact al any time fo r any purpose, either directly or indirectly, the
       Opportunity or any ofucers, directors, shareholders, consultants, attorneys, employees. agents or
       other affiliates of the Opportunity, or any other property or properties whose identity was revealed
       through the efforts of Presenter, unless such approval is specifically granted in written form by
       Presentor on a case-by-case basis. Prescntec further agrees not to undertake any transaction or a
       series of transactions of any kind with the Opportunity or to co llect uny fees in connection with the
       Opportunity without the express prior written agreement of Presenlor, which agreement may be
       withheld in Presenter's sole discretion.




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                                                                                                                 PREMIER- 1
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               ~eel ion 2. Trade Secrets. Much of U1c business info1111ation communicated to Preseutor
       by Presentee and by Prcscntcc to Presenter may be trade secrets to such party. Each of Presentec
       and Presenter agrees to preserve the secrecy of said in formation. All information which becomes
       known through the course of business conducted by and between Presenter and Presentee shall be
       deemed trade secrets. Said trade secrets i11clude, bnl are nor limited to, prepared information
       packages; financ ials; related documents; names of potentia l acquisitions, intermediaries, contacts
       and deal sources; deal structures and financial considerations. Each of Presentee and Presentor
       agrees lo preserve and protect the secrecy and confidentiality ofs~1ch information and shall disclose
       same to no third party without the express written permission from the other. This prohibition shall
       be enforced from the date o f this agreement and for a period of five years therealier.

               Section 3. Applicability of Agreement. Presentor and Presentee both agree tlwt the
       provisions of this Agreement extend to the employees and oJlicers of their respec1ive
       companies/businesses. Said principals further agree to provide the requisite internal security oftl1e
       subject data within their respective organizations.


                                                   ARTICL E II
                                                MISCELLANEOUS

                Section I. Dispute Resolution. In the event of ally dispute, controversy, or claim related
       to or arisi,;g from the terms of this 1\ greemenl, the parties hereto hereby agree that any such dispute,
       controversy or c laim shall be settled by arbi tration in accordance with the Commercial Arbitration
       Ru les o f the Ameri can Arbilration Association and judgment upo n the award rendered by the
       arbitrator(s) may be entered in any cou1t having jurisdiction thereof. Said arbitra1ion shall be
       conducted in Dallas Coullly, Texas, by a single arbitrator. Such dispute resolution shall be in
       accordance with the applicable substantive lm,,'S of the state of Texa-;. T he prevailing party shall be
       entitled to all fees and costs arising there from, including, but not lim ited to, attorney's fees and
       costs.

               Section 2. Au t hority. Each of Presenter and P resentee hereby represents that it has full
       right, power and authority to execute this Agrcem~nt and to perform the actions contemplated
       hereby. Upon execution of this Agreement. each of Presentor and Presentee hereby binds its
       representatives and he irs and all subsidiaries and fim1s affiliated with Presentor or Presentee, as the
       case may be, under the terms of this Agreement.

               Section 3. Intcgral'ion and Sevcra hility. This Agreement constitutes the entire
       agreement between the parties hereto regarding the transactio ns contemplated hereby. In the even! a
       term or terms of this Agreement is/arc held to be unenforceable or unl awfu l, the remaining terms of
       this Agreement shall continue in full force and effect.




                                                          2




                                                                                                               PREMIER - 2
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               R1:i;lion 4, Notices, /\JI notices, requests, consents and other communications hereunder
       shall be in writing and shall be del ivered in person or by registered or ccn!Iie<l muil, r..:lurn r..:ccipl
       requested, postage and fees prepaid, or by overnight courier, recei pt signature required, or by
       te lecopier transmission, with verification of the transmissio n received by the sender, to Lhe parties as
       set forth below or at such other place as either paity may, by wri tten notice to the olher, direct:

                       If to Presento r:




                       Facsimile No.: f./lZ -tt/5 --ff7o?
                       Alln:        Skt
                                      4,_.,-,,v G,c../nC.,efl/

                       If to Presentee:
                                     Al), - (r: 14::: k:.. Tee(

                       Facsimile No.: _ _ _ _ _ _ _ __
                       J\ttn:
                              - - -- - - - - - - --
               Any party hereto may change the address de-signaled for mailing by written notice to the
       other party. All such notices shall be deemed to be given when delivered in persnn o r telecopied, or
       if placed in the mai l as aforesaid, then four days thereafter.

              Section 5.     Counterparts. This Agreement may be executed simultaneously in one or
       more counterparts, including telecopy facsimiles, each ofwhieh shall be deemed an o riginal , but all
       orwhich together shall constitute one and the same agreement.
              Sectio n 6.     Amendments. This Agreement may only be amended, supplemented, or
       otherwise al tered with the express wrillcn consent of all pmlies hereto.




                                                            3




                                                                                                                 PREMIER-3
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       Thf'. Pm-lies herelo, iigreeing to he bound. hereby execute this Agreement effective the date first set
       forth above.

                               PRESENTOR

                               By:         ~fle01rerL       E(ecmotv1c~,, L.cc.
                               Name:           .Sh, tfK!'(fV (!... n 1,r::,.::1r1.t
                              Tille:               PCe51,acAc

                               PRESENTEE


                              Name: ~
                              By        ~             <(e~
                              Title: _ 7, ·          A--G1s (2<




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                                                                                                                 PREMIER - 4
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                         l\lIUTUAL NON-DISCLOSURE AND NON-USE AGREEMENT (536B)
                                                                 NON-USE AGREEMENT (this "Agreement")
                                           - ,-L==------'.-J"'-'-l:I-- - ' 20& between Premier E lectronics,LLC.
        (the "Company")
        - - - -- - --f7I->..U"-Jl.t.J""'1;=='--(=-.:/i::u<...L1.&:J'<---- - - -- -- -'(the " Recipient")(the
        Company and the ecipienl are individually referred to herein as the "Party" and collectively as the
        "Parties").

                 I. Purpose. The Parties wish to explore and evaluate a business opportunity of mutual interest
        and, in connection with this opportunity, the Company has disclosed or will disclose to the Recipient and
        the Recipient has or will disclose to the Company certain proprietary technical and business information
        that each Party considers confidential and desires the other Party to treat as confidential. Tn addition, if
        the Parties enter into such business opport1mity, each Paity wishes to continue to treat such proprietary
        technical and business information confidential during the course of the resulting business relationship.
        As a condilion to and in consideration of such infomiation being disclosed. each Party hereby enters into
        the terms of this agreement with respect to the resulting business.

                 2. "Confidential Information" means any info1mation relating to the Company disclosed by the
        Parties to the other Party, either directly or in writing, orally, electronically, on magnetic media, or by
        inspection of the physical plant, equipment or tangible objects, including without limitation documents,
        prololypes, samples, research, fommlas, technical know-how, processes, development, patents,
        trademar.ks, copyrights, inventions, designs, computer software code, industrial property rights,
        marketing plans and strategies, customers, business plans, profits, costs, pricing, finan cial data and
        information, procedures and all other information relating to the business of such Party or its employees,
        supplie rs, vendors, indep endent contractors or others with whom such Party transacts busi ness (the
        "Confidential Information"). Confidential !Jifonnation shall also include infonnation disclosed to either
        Party by third parties where such third party is subject lo a confidentiality agreement with a Party that
        applies to such information. All of the foregoing information constitutes Confidential lnformalion
        without regard to any labeling of such materials as confidential or other statement lhat such materials are
        confidential. Confident ial Jnformation shaU not, however, include any information which either Party
        can establish (i) was publicly known and made generally available in the public domain prior to the time
        of disclosure to either Party by the other Party; (ii) becomes publicly known and made generally
        available after disclosure by the disclosing Party to the other Party except if such public disclosure
        occurs as a result of a direct or indirect breach of this Agreement by either Party; or (iii) was in the
        possession of eilher Party, without confidentiality restrictions, at the time of disclosure by the disclosing
        Pa11y as s hown by recipient Party's files and records immediately prior to the time of disclosure.

                3. Non-Use and Non-Disclosure. The Parties agree not to use any Confidential Information for
        any purpose except to evaluate and engage in discussions concerning a potential business relationship
        between the Parlies or as required by a resulting ongoing business relationship between the Parties. The
        Parties agree not to disclose any Confidential Information to third parties or to employees, financial
        advisors, attorneys, accountants, other advisors ancVor agents ("Representatives") of either Party, except
        to those Representatives who (i) are required to have the infonnation in order to evaluate or engage in
        discussions concerning the contemplated business relationship or to accomplish the purposes of a
        resulting ongoing business relationship and (ii) who have been infonned of the confidential nature of the
        Confidential Information and will agree to keep such infonnation confidential in accordance 1t the
        terms of this Agreement. Specifically, and without waiving, truncating or limiting the other ngua e in
        this Agreement, the Parties SHALL NOT USE OR DlSCLOSE any Confidentia l Infomrnti 1 (inc 1ding

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        but not limited to financ ial infonnation, quotes, pricing or other business information) of the other Party
        fo1• the pul'poso of conducting btrninegg with or for imy   third party, harming the non-disclosing Party'.~
        business, or informing any third party of the contents of the non-disclosing Party's Confidential
        information. The Pai1ies agree that, during the evaluation period for any bus iness oppo11unity, without
        the prior written consent of the other Party, neither Party will disclose the fact that Confidential
        Information has been made available to it, that discussions or negotiations are taking p lace concerning a
        possible transaction between the Company and the Recipient or any other facts with respect thereto.

                 4. Maintenance of Confidentiality. The Parties agree that they shall take all reasonable measures
        to protect the secrecy of and avoid disclosure and unauthorized use of the Confidential Jnforn1ation.
        Without limiting the foregoing, the Parties shall take al least those measures that they take lo protect their
        own most highly confidential information and shall have their employees who have access to
        Confidential Infonuation sign a non-use and non-disclosure agreement in content substantially s imilar to
        the provisions hereof, prior to any disclosure of Confidential lnfonnation to such employees. The Parties
        shall not make any copies of Confidential Information unless the same are previously approved in writing
        by the other Party. If contained in the original or supplied by the disclosing party in writing, the Parties
        shall r eproduce each Party's respective proprietary rights notices on any such approved copies. Each
        Party shall immediately notify the other Party in the event of any unauthorized use or disclosure of the
        Confidential 1Jifom1ation.

                5. Required Disclosure. 1n the event that either Party is requested or required (by oral questions,
        interrogatories, requests for information or documents in legal proceeclings, suhpoena, civil investigative
        demand or other similar process) to disclose any of the Confidential Tnformation, such Party shall provide
        the other Party with prompt notice of any such request or requirement so that the other Par ty may seek a
        protective order or other appropriate remedy and/or waive compliance with the provisions of this
        Agreement. In the event dial either Party is legally compelled to disclose any portion of the Confidential
        Information, such Party may only disclose that portion of the Confide ntial Information which counsel
        advises it is legally required to disclose. Each Pa1ty agrees that it will cooperate with the other to obtain
        an appropriate protective order or other Ieliable assurance that confidential treatment will be accorded to
        the Confidential fnformation by such tribunal.

                6. No Obligation. Nothing herein shall obligate either Party to proceed with any transaction or
        business relationship between them, and each Party reserves the right, in their sole discretion, to
        terminate the discussions and evaluations contemplated by this Agreement concerning such business
        opportunity.

             7. No WmTanty. ALL CONFIDENTIAL INFORMATION IS PROVIDED "AS IS". NEITHER
        PARTY MAKES ANY WARRANTIES, EXPRESS, IlvIPLIED OR OTHERWISE, REGARDING ITS
        ACCURACY, COMPLETENESS OR PERFORMANCE.

                8. Return of Materials. All documents and other tangible objects containing or representing
        Confidential Information and all copies thereof which are in the possession of either Party shall be and
        r emain the property of the disclosing Party and shall be promptly returned to disclosing Party upon
        disclosing Party's request.

                 9. Rights to Confidential Information. Nothing in this Agreem<!nl is intended lo grant any rights
        to either Pai1Y to any intellectual property of the other, including without limitation to any patent,
        trademark or copyright of the other Party, nor shall this Agreement grant either Party any license or other
        rights in or to Confidential Information except as expressly set forth herein. Nothing in this greem nt
        shall be deemed to create an obligation to disclose Confidential lnfomiation.

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                 I 0. Tenn. T his Agreement shall survive until such time as all Confidential Jn.fonnation
        disclosed hereunder becomes publicly know11 and made generally available through no action or inaction
        of either Party.

                 11 . Remedies. Each Party agrees to be responsible for any breach of this Agreement by its
        Representatives. Each Party agrees that any violation or threatened violation of this Agreement by itself
        or any of its Representatives will cause immediate and irreparable injury to the other Party, entitling the
        other Party to obtain injunctive relief, specific perfomiance or o ther equitable relief in addition to all
        legal r emedies, plus reasonable atlomey's fees and costs incurred in obtaining any s uch relief. Each
        party expressly waives any right to claim that any breach ofU1is Agreement is adequately compensable in
        monetary damages.

                12. Governing Law; Submission to Jurisdiction. T his Agreement shall be governed by the laws
        of the State of Texas, w ithout reference to conflict of laws principles. The Parties hereto irrevocably
        submit to the jurisdiction and venue of the appropriate court in the state of Texas in any action or
        proceeding arising out of or relating to this Agreement, and irrevocably agree that a l I claims in respect of
        any such action or proceeding may be heard and detennined in such court.

                13. Miscellaneous. This Agreement shall bind and inure to the benefit of the Parties hereto and
        their successors and assigns. This document contains lhe entire agreement between the Parties with
        respect to the subject matter hereof. Any fail ure to enforce any provision of this Agreement shall not
        constitute a waiver thereof or of any other provision hereof. This Agreement may not be amended, nor
        any obligation waived, except by a writ"ing signed by both Parties hereto.

                 IN WITNESS WHEREOF, this Agreement has been executed and delivered by the undersigned
        parties as of the day and year first written above.




        Prnmier Electronics, LLC




                                                                  By:


       Name-_ ~tl?-k              ( eel_,                         Name:


       Ti<k~,o,.;,.-l /~/G-                                       Title:


       Please return the executed Agreement to:

       Premier Electronics, LLC
       c/o Shawn P Griffith
       3360 Wiley Post Ste 150
       Carrollton, Tx 75006


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